       Case 1:21-cr-00399-RDM Document 144-1 Filed 07/05/23 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


                                                               21-CR-00399-RDM
UNITED STATES OF AMERICA
                                                        ORDER EXCLUDING THE
                             Plaintiff               GOVERNMENT'S PROFFERED MT.
                                                             GOX DATA
                     v.

ROMAN STERLINGOV

                             Defendant,



       For good cause shown, it is hereby:

       ORDERED that the Government's proffered Mt. Gox Data is hereby excluded as

evidence.

                                     _________________________________

                                     Hon. Randolph D. Moss
                                     United States District Judge, District of Columbia
